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  6   Trustee in Bankruptcy

  7

  8                              UNITED STATES BANKRUPTCY COURT

  9                               NORTHERN DISTRICT OF CALIFORNIA

 10                                          SAN JOSE DIVISION

 11   In re                                                 Case No. 18-50398 MEH
                                                            Chapter 7
 12                                                         Hon. M. Elaine Hammond
              TECHSHOP, INC.,
 13                                                         OBJECTION TO CLAIM 115
                     Debtor.                                (Ashok Janah)
 14

 15                                                         [No Hearing Required Unless Requested]

 16

 17   TO:     ASHOK JANAH
 18
 19           PLEASE TAKE NOTICE THAT Doris Kaelin, Chapter 7 Trustee (“Trustee”) of the estate

 20   of TechShop, Inc. (“Debtor”), files this objection to Claim 115 filed by Ashok Janah (“Claimant”)

 21   on June 21, 2018 as a general unsecured claim in the amount of $76,312.69 (“Claim”). True and

 22   correct copies of the first three pages of the Claim are attached hereto as Exhibit A. If the Trustee’s

 23   objection to your Claim is sustained, it will be disallowed as a claim against the Debtor’s estate.

 24           The Debtor filed a voluntary petition under Chapter 7 of the Bankruptcy Code on February

 25   26, 2018 (“Petition Date”). Prior to the Petition Date, the Debtor operated approximately ten do-it-

 26   yourself fabrication shops in California, Texas, Detroit, Arizona and other locations in the United

 27   States. The Debtor operated all of its do-it-yourself fabrication shops as separate legal entities, with

 28   names such as: “TechShop SoMA LLC,” “TechShop Peninsula LLC,” “Tech Shop Mid-Peninsula

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  1   LLC,” “TechShop San Jose LLC,” “TechShop Los Angeles LLC,” “TechShop Detroit LLC,”

  2   “TechShop Arlington LLC,” “TechShop St. Louis LLC,” and “TechShop New York LLC”

  3   (collectively, the “LLCs”). Each of these limited liability companies are separate, distinct entities

  4   from the Debtor. The LLCs incurred liabilities and obligations to third parties, which liabilities and

  5   obligations are not debts of the Debtor. The assets of the LLCs are not part of the Debtor’s

  6   bankruptcy estate.

  7          The Trustee has reviewed the Claim, which has two components: (i) a $50,000 note that was

  8   issued by “TechShop Detroit”; and (ii) a TechShop Series A Preferred Stock Share (representing

  9   27,442 shares of the Debtor’s stock) (“Stock”). With regard to the TechShop Detroit Note, the Note

 10   represents an obligation of an entity other than the Debtor and is not an obligation of the Debtor.

 11   With regard to the component of the Claim related to the Stock, the Debtor’s estate has insufficient

 12   assets to make distributions to parties holding allowed general unsecured claims. As a consequence,

 13   equity claims – the Stock – will not receive distributions from the Debtor and must be disallowed

 14   pursuant to 11 U.S.C. § 726(a)(6).

 15          WHEREFORE, the Trustee prays for an order, as follows:

 16          1.      Disallowing in its entirety Claim 115 filed by Ashok Janah as a general unsecured

 17   claim in the amount of $76,312.69 on June 21, 2018;

 18          2.      For such other relief as the Court deems just and appropriate.

 19

 20   DATED: March 24, 2021                RINCON LAW LLP

 21

 22
                                           By: /s/ Gregg S. Kleiner
 23                                            GREGG S. KLEINER
                                               Counsel for DORIS A. KAELIN,
 24                                            Trustee in Bankruptcy
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